     Case 3:07-cr-00195-L      Document 77        Filed 12/18/07       Page 1 of 2      PageID 244



                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                     DALLAS DIVISION

UNITED STATES OF AMERICA                           §
                                                   §
v.                                                 §   Criminal No. 3:07-CR-195-L
                                                   §
TONY THONG MA (6)                                  §

                 ORDER ACCEPTING REPORT AND RECOMMENDATION
                    OF THE UNITED STATES MAGISTRATE JUDGE
                          CONCERNING PLEA OF GUILTY

         After reviewing all relevant matters of record, including the Notice Regarding Entry of a Plea

of Guilty, the Consent of the defendant, and the Report and Recommendation Concerning Plea of

Guilty of the United States Magistrate Judge (“Report”), and no objections thereto having been filed

within ten days of service in accordance with 28 U.S.C. § 636(b)(1), the undersigned District Judge

determines that the Report of the Magistrate Judge concerning the Plea of Guilty should be accepted.

Based upon the Report of the Magistrate Judge the court finds that the defendant is fully competent

and capable of entering an informed plea, that the defendant is aware of the nature of the charge and

the consequences of the plea, and that his plea of guilty is a knowing and voluntary plea, supported

by an independent basis in fact, containing each of the essential elements of the offense.

Accordingly, the court accepts the plea of guilty entered by Defendant Tony Thong Ma on November

27, 2007, and he is hereby adjudged guilty of the offense charged in the single-count Information,

which is a violation of 18 U.S.C. § 659, namely, receipt and possession of goods stolen from

interstate or foreign commerce. Sentence will be imposed in accordance with the court's scheduling

order.




ORDER ACCEPTING REPORT – Page 1
Case 3:07-cr-00195-L       Document 77       Filed 12/18/07   Page 2 of 2   PageID 245



     It is so ordered this 18th day of December, 2007.



                                                 _________________________________
                                                 Sam A. Lindsay
                                                 United States District Judge




ORDER ACCEPTING REPORT – Page 2
